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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 HITLER CALLE,
                                                                     Case No.: 1:20-cv-4178 (LDH) (LB)
                                         Plaintiff,
                                                                     NOTICE OF APPEARANCE
                  -against-

PIZZA PALACE CAFÉ LLC (d/b/a PIZZA PALACE),
SASHA ISHAQOV, YURI ISHAQOV, and VLADY
DJOURAEV,

                                         Defendants.
-----------------------------------------------------------------X
        PLEASE TAKE NOTICE that Emanuel Kataev, Esq. hereby appears as counsel for

Defendants Sasha Ishaqov, Yuri Ishaqov, and Vlady Djouraev in the above-captioned case. I

certify that I am admitted to practice in the United States District Court for the Eastern District of

New York.

Dated: Lake Success, New York
       November 21, 2023                              Respectfully submitted,

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                                                      Yuri Ishaqov, and
                                                      Vlady Djouraev
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VIA ECF
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